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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


INDEPTH ENGINEERING SOLUTIONS,
LLC, et al.,

             Plaintiffs,

      v.                                            Civil Action No. 1:19-cv-02575 (CJN)

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES,

             Defendant.


                                           ORDER

       Upon consideration of Defendant’s Consent Motion for Stay of These Proceedings, Dkt.

5, it is hereby ORDERED that the Motion is GRANTED and that this case is STAYED.

       It is further ORDERED that the Parties shall file a Joint Status Report and proposed

schedule for further proceedings, including a recommendation on whether the Court should

continue the stay of proceedings, on or before February 20, 2020.


DATE: October 25, 2019
                                                           CARL J. NICHOLS
                                                           United States District Judge




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